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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                                Case Nos. 9:18-cv-81219-DMM-DLB

                                  Judge Donald M. Middlebrooks
                                 Magistrate Judge Dave Lee Brannon

   MITCH VELASCO, derivatively on behalf of ADT
   INC.,

          Plaintiff,

          vs.

   TIMOTHY J. WHALL, JAMES D. DEVRIES,
   JEFFREY LIKOSAR, P. GRAY FINNEY, MARC
   E. BECKER, REED B. RAYMAN, MATHEW H.
   NORD, ANDREW D. AFRICK, ERIC L. PRESS,
   LEE J. SOLOMON, STEPHANIE DRESCHER,
   BRETT WATSON, DAVID RYAN, APOLLO
   GLOBAL MANAGEMENT LLC, PRIME
   SECURITY SERVICES TOPCO PARENT, L.P.,
   APOLLO MANAGEMENT HOLDINGS,
   L.P., APOLLO MANAGEMENT HOLDINGS
   GP, LLC APOLLO MANAGEMENT, L.P., and
   APOLLO MANAGEMENT GP, LLC,

          Defendants,

          and

   ADT INC.,

          Nominal Defendant.


                             NOTICE OF VOLUNTARY DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and 23.1(c) of the Federal Rules of Civil

  Procedure, Plaintiffs hereby give notice that the above-captioned action is voluntarily dismissed

  without prejudice against all of the defendants.

         Voluntary dismissal is appropriate under Fed. R. Civ. P. 41(a) given that Defendants have
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  neither answered any of the complaints in this consolidated action nor filed a motion for summary

  judgment. Notice of the voluntary dismissal is not required under Fed. R. Civ. P. 23.1(c) because

  neither Plaintiffs nor Plaintiffs’ counsel has received or will receive any compensation for this

  dismissal.

         Defendants consent to the dismissal without prejudice of the above-captioned action and

  to each party bearing its own costs and fees.

                                                      Respectfully Submitted,

   Dated: November 26, 2018                        MATHEWS GIBERSON LLP


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                                                   Co-Lead Counsel for Plaintiffs



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                                    CERTIFICATE OF SERVICE

         I hereby certify that on November 26, 2018, a true and correct copy of the foregoing

  document was served by CM/ECF to the parties registered to the Court’s CM/ECF system.

                                                                /s/ Walter J. Matthews
                                                                  Walter J. Matthews



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